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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA
                                    Case 1:19-cr-00018-ABJ

UNITED STATES OF AMERICA,


       v.


ROGER J. STONE, JR.,

       Defendant.

__________________________________/

                UNOPPOSED MOTION FOR EXTENSION OF TIME
       UNTIL MONDAY, FEBRUARY 10, 2020, FOR BOTH PARTIES TO FILE THEIR
                       SENTENCING MEMORANDA

       Counsel for the Defendant request a three day extension, until Monday, February 10,

2020, for both parties to file their sentencing memoranda. Each party’s memorandum is currently

due Friday, February 7, 2020.

       The extension is requested due to time conflicts concerning obligations in other matters

and in order to provide sufficient time for counsel to fully set forth our arguments and objections

to the Presentence Investigation Report. Counsel for the government has been contacted and has

no objection to the additional three days for both parties to submit their memoranda. This request

is made in good faith and the brief extension will not delay any pending dates.
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                                               Respectfully submitted,
                                               By: /s/_______________

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 5, 2020, I electronically filed the foregoing with the
Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this day
on all counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.
   United States Attorney’s Office for the
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                                       By: /s/ Robert Buschel
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